Case 1:14-cr-00066-IMK Document 100 Filed 11/17/14 Page 1 of 9 PageID #: 234




                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

UNITED STATES OF AMERICA,

v.                                             Criminal Action No. 1:14-cr-66-8

RODNEY WAYNE SWIGER,
      Defendant.

                   OPINION/ REPORT AND RECOMMENDATION
                  CONCERNING PLEA OF GUILTY IN FELONY CASE

       This matter has been referred to the undersigned Magistrate Judge by the District Court for

purposes of conducting proceedings pursuant to Federal Rule of Criminal Procedure 11. Defendant,

Rodney Wayne Swiger, in person and by counsel, Craig Erhard, appeared before me on November

14, 2014. The Government appeared by Assistant United States Attorney Stephen Warner. The

Court determined that Defendant was prepared to enter a plea of “Guilty” to Count Eighteen of the

Indictment.

       The Court proceeded with the Rule 11 proceeding by first placing Defendant under oath.

       The Court inquired of Defendant whether he was a citizen of the United States. Defendant

responded that he is a citizen. The undersigned asked Defendant whether he understood that if he

were not a citizen of the United States, by pleading guilty to a felony charge he would be subject to

deportation at the conclusion of any sentence; that he would be denied future entry into the United

States; and that he would be denied citizenship if he ever applied for it. Defendant stated that he

understood.

       The Court determined that Defendant’s plea was pursuant to a written plea agreement, and

asked the Government to tender the original to the Court. The Court asked counsel for the

Government if the agreement was the sole agreement offered to Defendant. The Government

responded that it was and counsel for Defendant confirmed the same. The Court asked counsel for
Case 1:14-cr-00066-IMK Document 100 Filed 11/17/14 Page 2 of 9 PageID #: 235




the Government to summarize the written plea agreement. Defendant stated that the agreement as

summarized by counsel for the Government was correct and complied with his understanding of the

agreement. The Court ORDERED the written plea agreement filed.

       The Court next inquired of Defendant concerning his understanding of his right to have an

Article III Judge hear the entry of his guilty plea and his understanding of the difference between an

Article III Judge and a Magistrate Judge. Defendant thereafter stated in open court that he

voluntarily waived his right to have an Article III Judge hear his plea and voluntarily consented to

the undersigned Magistrate Judge hearing his plea, and tendered to the Court a written Waiver of

Article III Judge and Consent To Enter Guilty Plea Before Magistrate Judge, which waiver and

consent was signed by Defendant and countersigned by Defendant’s counsel and was concurred in

by the signature of the Assistant United States Attorney appearing.

       Upon consideration of the sworn testimony of Defendant, as well as the representations of

his counsel and the representations of the Government, the Court finds that the oral and written

waiver of Article III Judge and consent to enter guilty plea before a Magistrate Judge was freely and

voluntarily given and the written waiver and consent was freely and voluntarily executed by

Defendant, Rodney Wayne Swiger, only after having had his rights fully explained to him and having

a full understanding of those rights through consultation with his counsel, as well as through

questioning by the Court. The Court ORDERED the written Waiver and Consent to Enter Guilty

Plea before a Magistrate Judge filed and made part of the record.

       The undersigned then reviewed with Defendant Count Eighteen of the Indictment and the

elements the Government would have to prove, charging him with aiding and abetting distribution

of a controlled substance analogue, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C), and 18


                                                  2
Case 1:14-cr-00066-IMK Document 100 Filed 11/17/14 Page 3 of 9 PageID #: 236




U.S.C. § 2. The undersigned then reviewed with Defendant the statutory penalties applicable to an

individual adjudicated guilty of the felony charge contained in Count Eighteen of the Indictment, the

impact of the sentencing guidelines on sentencing in general, and inquired of Defendant as to his

competency to proceed with the plea hearing. From said review the undersigned Magistrate Judge

determined Defendant understood the nature of the charges pending against him and understood the

possible statutory maximum sentence which could be imposed upon his conviction or adjudication

of guilty on Count Eighteen was imprisonment for a term of not more than twenty (20) years;

understood that a fine of not more than $1,000,000.00 could be imposed; understood that both fine

and imprisonment could be imposed; understood he would be subject to a period of at least three (3)

years of supervised release; and understood the Court would impose a special mandatory assessment

of $100.00 for the felony conviction payable on or before the date of sentencing. Defendant also

understood that his sentence could be increased if he had a prior firearm offense, violent felony

conviction, or prior drug conviction. He also understood he might be required by the Court to pay

the costs of his incarceration and supervised release.

       The undersigned also reviewed with Defendant his waiver of appellate rights as follows:

Ct.    Do you understand that under 18 U.S.C. § 3742, you each have a right to appeal your

       conviction and your sentence to the Fourth Circuit Court of Appeals provided that you give

       14 days notice of intent to appeal, that is notice within 14 days of sentencing of your intent

       to appeal? Do you understand that?

Def.   Yes, sir.




                                                 3
Case 1:14-cr-00066-IMK Document 100 Filed 11/17/14 Page 4 of 9 PageID #: 237




Ct.    Do you each understand that you may file a motion under 28 U.S.C. § 2255, commonly

       called a writ of habeas corpus motion, collaterally attacking or challenging the sentence and

       how the sentence is being carried out?

Def.   Yes, sir.

Ct.    Under your written plea agreement, paragraph 12, do you each understand that if the District

       Judge gives you an actual sentence which is within the maximum provided by the sentencing

       statute, which is 20 years, then you give up your right to appeal the actual sentence she

       imposes to the Fourth Circuit and you give up your right to collaterally attack or challenge

       the sentence by filing a writ of habeas corpus motion?

Def.   Yes, sir.

Ct.    Did you fully go over those waivers of your right of appeal and collateral attack with your

       lawyers?

Def.   Yes, sir.

Ct.    Did you fully understand those paragraphs before you signed the written plea agreement?

Def.   Yes, sir.

Ct.    Has anything about your understanding of those paragraphs changed since you signed the

       agreement and today?

Def.   No, sir.

Ct.    The only thing you reserve to yourself is the ability to file a writ of habeas corpus motion if

       you discover after today that there was some form of prosecutorial misconduct in your case

       or some ineffective assistance of counsel in your case, is that correct?

Def.   Yes, sir.


                                                 4
Case 1:14-cr-00066-IMK Document 100 Filed 11/17/14 Page 5 of 9 PageID #: 238



Ct.    And as you sit here today, you do not know of any prosecutorial misconduct or any

       ineffective assistance of counsel, is that correct?

Def.   Yes, sir, that’s correct.

Ct.    You intended to give up those valuable rights of direct appeal and collateral attack as set

       forth in paragraph 12 of your written plea agreement, is that correct?

Def.   Yes.

       From the foregoing colloquy the undersigned determined that Defendant understood his

appellate rights and knowingly gave up those rights pursuant to the conditions contained in the

written plea agreement.

       The undersigned Magistrate Judge further examined Defendant relative to his knowledgeable

and voluntary execution of the written plea bargain agreement, and determined the entry into said

written plea bargain agreement was both knowledgeable and voluntary on the part of Defendant. The

undersigned then inquired of Defendant regarding his understanding of the written plea agreement.

Defendant stated he understood the terms of the written plea agreement and also stated that it

contained the whole of his agreement with the Government and no promises or representations were

made to him by the Government other than those terms contained in the written plea agreement.

       The undersigned Magistrate Judge further inquired of Defendant, his counsel, and the

Government as to the non-binding recommendations and stipulation contained in the written plea

bargain agreement and determined that Defendant understood, with respect to the plea bargain

agreement and to Defendant’s entry of a plea of guilty to the felony charge contained in Count

Eighteen of the Indictment, the undersigned Magistrate Judge would write the subject Report and

Recommendation and would further order a pre-sentence investigation report be prepared by the



                                                  5
Case 1:14-cr-00066-IMK Document 100 Filed 11/17/14 Page 6 of 9 PageID #: 239


probation officer attending the District Court. The undersigned advised the Defendant that the

District Judge would adjudicate the Defendant guilty of the felony charged under Count Eighteen

of the Indictment. Only after the District Court had an opportunity to review the pre-sentence

investigation report, would the District Court make a determination as to whether to accept or reject

any recommendation or stipulation contained within the plea agreement or pre-sentence report. The

undersigned reiterated to the Defendant that the District Judge may not agree with the

recommendations or stipulation contained in the written agreement. The undersigned Magistrate

Judge further advised Defendant, in accord with Federal Rule of Criminal Procedure 11, that in the

event the District Court Judge refused to follow the non-binding recommendations or stipulation

contained in the written plea agreement and/or sentenced him to a sentence which was different from

that which he expected, he would not be permitted to withdraw his guilty plea. Defendant and his

counsel each acknowledged their understanding and Defendant maintained his desire to have his plea

of guilty accepted.

       Defendant also understood that his actual sentence could not be calculated until after a pre-

sentence report was prepared and a sentencing hearing conducted. The undersigned also advised,

and Defendant stated that he understood, that the Sentencing Guidelines are no longer mandatory,

and that, even if the District Judge did not follow the Sentencing Guidelines or sentenced him to a

higher sentence than he expected, he would not have a right to withdraw his guilty plea. Defendant

further stated his attorney showed him how the advisory guideline chart worked but did not promise

him any specific sentence at the time of sentencing. Defendant stated that he understood his attorney

could not predict or promise him what actual sentence he would receive from the sentencing judge

at the sentencing hearing. Defendant further understood there was no parole in the federal system,




                                                 6
Case 1:14-cr-00066-IMK Document 100 Filed 11/17/14 Page 7 of 9 PageID #: 240




although he may be able to earn institutional good time, and that good time was not controlled by

the Court, but by the Federal Bureau of Prisons.

        The Court would generally hear the testimony of a Government witness at this point in the

hearing to support an independent basis in fact for the guilty plea. In this case, the parties agreed that

the Government would provide a proffer. The Government proffered that on March 4, 2013, a

confidential informant (“CI”) contacted the Greater Harrison County Drug Task Force and indicated

that co-defendant Stephanie Furner had informed him that co-defendant Nioka Wriker would be

returning from Ohio “at any minute” with bath salts. Upon Wriker’s return, Furner called the CI and

told the CI to go to a residence in the Wilsonburg area of Clarksburg, West Virginia, within the

Northern District of West Virginia. When the CI arrived at the residence, Furner exited the residence

and entered the CI’s vehicle. Furner and the CI then entered the residence. Furner walked from the

living room to a back bedroom while the CI remained in the living room. Furner returned with

Defendant, who gave the CI two (2) packages of Power X Energy Soak in exchange for $300.00.

The DEA laboratory confirmed that the packages contained 0.72 grams of á-PVP. The buy was

digitally recorded.

        Thereupon, Defendant, Rodney Wayne Swiger, with the consent of his counsel, Craig Erhard,

proceeded to enter a verbal plea of GUILTY to the felony charge in Count Eighteen of the

Indictment.

        Defendant stated he heard, understood, and did not disagree with the Government’s proffer.

The undersigned United States Magistrate Judge concludes the offense charged in Count Eighteen

of the Indictment are supported by an independent basis in fact concerning each of the essential

elements of such offense. That independent basis is provided by the Government’s proffer.


                                                    7
Case 1:14-cr-00066-IMK Document 100 Filed 11/17/14 Page 8 of 9 PageID #: 241




       Upon consideration of all of the above, the undersigned Magistrate Judge finds that

Defendant is fully competent and capable of entering an informed plea; Defendant is aware of and

understood his right to have an Article III Judge hear and accept his plea and elected to voluntarily

consent to the undersigned United States Magistrate Judge hearing his plea; Defendant understood

the charges against him, not only as to the Indictment as a whole, but in particular as to Count

Eighteen of the Indictment; Defendant understood the consequences of his plea of guilty, in

particular the maximum statutory penalty to which he would be exposed for Count Eighteen;

Defendant made a knowing and voluntary plea of guilty to Count Eighteen of the Indictment; and

Defendant’s plea is independently supported by the Government’s proffer which provides, beyond

a reasonable doubt, proof of each of the essential elements of the charges to which Defendant has

pled guilty.

       The undersigned Magistrate Judge therefore recommends Defendant’s plea of guilty to Count

Eighteen of the Indictment herein be accepted conditioned upon the Court’s receipt and review of

this Report and Recommendation.

       The undersigned further directs that a pre-sentence investigation report be prepared by the

adult probation officer assigned to this case.

       Defendant is released pursuant to the Order Setting Conditions of Release previously entered.

However, co-defendant Furner requested that Defendant and she be permitted to have contact so

Defendant could visit with Furner’s child. Defendant had acted as a father figure for said child prior

to the within indictment even though he was not the biological father. The probation officers

involved had no objection. Accordingly, the conditions of release are modified to permit Defendant

and co-defendant Furner to have contact.


                                                  8
Case 1:14-cr-00066-IMK Document 100 Filed 11/17/14 Page 9 of 9 PageID #: 242




       Any party may, within fourteen (14) days after being served with a copy of this Report and

Recommendation, file with the Clerk of the Court written objections identifying the portions of the

Report and Recommendation to which objection is made, and the basis for such objection. A copy

of such objections should also be submitted to the Honorable Irene M. Keeley, United States District

Judge. Failure to timely file objections to the Report and Recommendation set forth above will

result in waiver of the right to appeal from a judgment of this Court based upon such report and

recommendation. 28 U.S.C. § 636(b)(1); United States v. Schronce, 727 F.2d 91 (4th Cir. 1984),

cert. denied, 467 U.S. 1208 (1984); Wright v. Collins, 766 F.2d 841 (4th Cir. 1985); Thomas v. Arn,

474 U.S. 140 (1985).

       The Clerk of the Court is directed to send a copy of this Report and Recommendation to

counsel of record.

       Respectfully submitted this 17th day of November, 2014.

                                                     John S. Kaull
                                                     JOHN S. KAULL
                                                     UNITED STATES MAGISTRATE JUDGE




                                                 9
